Case 9:13-cv-80928-KAM Document 648 Entered on FLSD Docket 03/29/2021 Page 1 of 4




                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 13-80928-CIV-MARRA
                                          (Consolidated Action: Lead Case)

  RICHARD COTROMANO, et al, all on
  behalf of themselves and others similarly situated,

  Plaintiffs,

  vs.

  RAYTHEON TECHNOLOGIES CORP.,
  d/b/a Pratt Whitney,

  Defendant.
  ___________________________________/


               ORDER ON DEFENDANT’S MOTION FOR SUMMARY JUDGMENT1

             This cause is before the Court upon Defendant’s Motion for Summary Judgment (DE

  498). The Motion is fully briefed and ripe for review. The Court has carefully considered the

  Motion and is otherwise fully advised in the premises.

             On June 26, 2019, Defendant filed the instant motion for summary judgment based

  primarily on the assumption that Plaintiffs’ expert Dr. John Kilpatrick should be excluded from

  consideration and, upon such exclusion, summary judgment for Defendants would be

  appropriate.2 Additionally, Defendant argues that (1) Plaintiffs have not shown that (a)

  Defendant caused the “stigma” on which they base their claims, (b) that they have suffered any


  1
      The Court presumes familiarity with its prior Orders.
  2
      Defendant begins its brief in support of summary judgment by stating:

             [Defendant] has moved once again to exclude [Dr.] Kilpatrick’s opinions. Whether or not the Court
             grants that motion—but particularly if it does—the Court should grant summary judgment for
             [Defendant] now and put an end to the protracted, nine-year history of these consolidated cases.

  (DE 498 at 4.)
Case 9:13-cv-80928-KAM Document 648 Entered on FLSD Docket 03/29/2021 Page 2 of 4




  injury in fact, or (c) the amount of their alleged damages; (2) Plaintiffs have not presented the

  individualized proof of causation and damages the Court held was necessary and (3) with the

  exclusion of Dr. Kilpatrick’s testimony, Plaintiffs do not have evidence of causation or damages.

         The Court may grant summary judgment “if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

  R. Civ. P. 56(a). The stringent burden of establishing the absence of a genuine issue of material

  fact lies with the moving party. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The Court

  should not grant summary judgment unless it is clear that a trial is unnecessary, Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 255 (1986), and any doubts in this regard should be resolved

  against the moving party. Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970).

         The movant “bears the initial responsibility of informing the district court of the basis for

  its motion, and identifying those portions of [the record] which it believes demonstrate the

  absence of a genuine issue of material fact.” Celotex Corp., 477 U.S. at 323. To discharge this

  burden, the movant must point out to the Court that there is an absence of evidence to support the

  nonmoving party’s case. Id. at 325. When the nonmoving party bears the burden of proof on an

  issue, the moving party may discharge its burden by showing that the materials on file

  demonstrate that the party bearing the burden of proof at trial will not be able to meet its burden.

  Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir.1991).

         After the movant has met its burden under Rule 56(a), the burden of production shifts and

  the nonmoving party “must do more than simply show that there is some metaphysical doubt as

  to the material facts.” Matsushita Electronic Industrial Co. v. Zenith Radio Corp., 475 U.S. 574,

  586 (1986). “A party asserting that a fact cannot be or is genuinely disputed must support the

  assertion by citing to particular parts of materials in the record . . . or showing that the materials



                                                     2
Case 9:13-cv-80928-KAM Document 648 Entered on FLSD Docket 03/29/2021 Page 3 of 4




  cited do not establish the absence or presence of a genuine dispute, or that an adverse party

  cannot produce admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A) and (B).

             Essentially, so long as the non-moving party has had an ample opportunity to conduct

  discovery, it must come forward with affirmative evidence to support its claim. Anderson, 477

  U.S. at 257. “A mere ‘scintilla’ of evidence supporting the opposing party’s position will not

  suffice; there must be enough of a showing that the jury could reasonably find for that party.”

  Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990). If the evidence advanced by the non-

  moving party “is merely colorable, or is not significantly probative, then summary judgment may

  be granted.” Anderson, 477 U.S. 242, 249-50.

             After careful review, the Court concludes that there are genuine issues of material fact

  raised by Plaintiffs, making granting summary judgment for Defendant inappropriate. The Court

  will highlight some of these questions of fact, which is by no means exhaustive.

             First and foremost, Defendant’s summary judgment motion is based primarily on the

  premise that Dr. Kilpatrick would be excluded. The Court, however, declined to exclude Dr.

  Kilpatrick’s testimony, finding Defendant’s arguments for exclusion under Daubert v. Merrell

  Dow Pharm., Inc., 509 U.S. 579 (1993) unpersuasive. Specifically, the Court concluded that

  Defendant’s arguments to exclude Dr. Kilpatrick’s testimony did not go to the admissibility of Dr.

  Kilpatrick’s expert opinion but went to the weight that a jury should afford his expert testimony.

  (DE 554.)

             Next, the Court rejects Defendant’s contention that Plaintiffs have not offered any expert to

  testify that Defendant caused the cancer cases in the Acreage3 or that the dissemination of

  information about environmental conditions at Defendant’s location or potential groundwater




  3
      This is the Cotromano Plaintiffs’ theory of their case.

                                                                3
Case 9:13-cv-80928-KAM Document 648 Entered on FLSD Docket 03/29/2021 Page 4 of 4




  contamination caused stigma in the Acreage.4 In opposing summary judgment, Plaintiffs point to

  their experts, including Dr. Francesca Dominici, Dr. Marco Kaltofen and Dr. Richard Smith.

  Notably, Defendant did not move to strike Dr. Dominici.5 Although Defendant moved to strike Dr.

  Kaltofen and Dr. Smith, the Court denied those motions. (DE 642, 645.) As such, these experts

  provide record evidence that supports Plaintiffs’ theory of causation, thus raising questions of fact

  precluding summary judgment.

             Lastly, the Court reminds the parties that it recently denied Plaintiffs’ summary judgment

  motion that sought a ruling that there was a diminution in the value of Plaintiffs’ homes. The Court

  explained that it could not address the question of loss until the matter of causation had been

  resolved. (DE 647.) This ruling applies equally to Defendant’s summary judgment motion.

             Accordingly, it is hereby ORDERED AND ADJUDGED that Defendant’s Motion for

  Summary Judgment (DE 498) is DENIED.

             DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 29th day of March, 2021.




                                                                        KENNETH A. MARRA
                                                                        United States District Judge




  4
      This is the Adinolfe Plaintiffs’ theory of their case.
  5
   The Court acknowledges that some of the experts upon which Dr. Dominici relies have been stricken, but at this
  point in the proceeding, her testimony remains unchallenged.

                                                               4
